         Case 1:23-cv-09036-DG-TAM Document 5 Filed 12/12/23 Page 1 of 3 PageID #: 88

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District
                                                 __________ Districtofof
                                                                       New  York
                                                                         __________
   Government Employees Insurance Company,
    GEICO Indemnity Company, GEICO General
                                                                 )
Insurance Company and GEICO Casualty Company,
                                                                 )
                             Plaintiff
                                                                 )
                                v.                               )       Civil Action No.   23-cv-9036
   NY Neurological Care PLLC and Naseer Ahmad                    )
                Chowdhrey, M.D.,                                 )
                            Defendant
                                                                 )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See Attached Rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Barry I. Levy, Esq
                                         Rivkin Radler LLP
                                         926 RXR Plaza
                                         Uniondale, New York 11566
                                         516-357-3000
                                         RR File No. 005100.03870


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:      12/12/2023
                                                                                      Signature of Clerk or Deputy Clerk
          Case 1:23-cv-09036-DG-TAM Document 5 Filed 12/12/23 Page 2 of 3 PageID #: 89

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           ’ I returned the summons unexecuted because                                                                             ; or

           ’ Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
  Case 1:23-cv-09036-DG-TAM Document 5 Filed 12/12/23 Page 3 of 3 PageID #: 90




                         RIDER “A” TO SUMMONS IN
             GOVERNMENT EMPLOYEES INSURANCE COMPANY, et al. v. NY
                      NEUROLOGICAL CARE PLLC, et al.

Full Caption:


 Barry I. Levy, Esq.
 Michael A. Sirignano, Esq.
 Joshua D. Smith, Esq.
 RIVKIN RADLER LLP
 926 RXR Plaza
 Uniondale, New York 11556
 (516) 357-3000

 Counsel for Plaintiffs, Government Employees Insurance Company,
 GEICO Indemnity Company, GEICO General Insurance Company
 and GEICO Casualty Company

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------------X
 GOVERNMENT EMPLOYEES INSURANCE
 COMPANY, GEICO INDEMNITY COMPANY, GEICO
 GENERAL INSURANCE COMPANY, and GEICO                                       Docket No.:_______ (         )
 CASUALTY COMPANY,

                                Plaintiffs,

               -against-

 NY NEUROLOGICAL CARE PLLC and NASEER AHMAD
 CHOWDHREY, M.D.,

                                 Defendants.
 -----------------------------------------------------------------------X


NY NEUROLOGICAL CARE PLLC
c/o New York Secretary of State
99 Washington Avenue
Albany, New York 12231-0001

NASEER AHMAD CHOWDHREY, M.D.
6 Seneca Rd
Schenectady, NY 12309-1329
                                                                                  4855-9049-3843, v. 1
